              Case 7:20-mj-10671-UA Document 6 Filed 10/15/20 Page 1 of 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                                      CONSENT TO PROCEED BY VIDEO OR
                                                                                TELE CONFERENCE
                             -against-
                                                                                 -CR-    ( )( )
                                                                                 20 Mag 10671
Charles Melvin
                                                 Defendant(s).
-----------------------------------------------------------------X

Defendant ______Charles Melvin________________________________ hereby voluntarily
consents to participate in the following proceeding via __X_ videoconferencing or __X_
teleconferencing:

__X_ Initial Appearance Before a Judicial Officer

___      Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Bail/Detention Hearing

___      Conference Before a Judicial Officer




ͬƐͬŚĂƌůĞƐDĞůǀŝŶďǇ:DǁŝƚŚƉĞƌŵŝƐƐŝŽŶ
_______________________________                                      ___   James Neuman________________
Defendant’s Signature                                                Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

___Charles Melvin______________                                      ______James Neuman________________
Print Defendant’s Name                                               Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

  ϭϬͬϵͬϮϬϮϬ
___________________                                                  _________________________________
                                                                         _____________________
                                                                                             ______
Date                                                                 U.S. District
                                                                          Di i JJudge/U.S.
                                                                                   d /U S MMagistrate
                                                                                               i      Judge
